Case 3:20-cv-00421-NJR Document 146 Filed 04/28/23 Page 1 of 3 Page ID #2445




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF ILLINOIS

JANE DOE by and through next friend
John Doe, RICHARD ROBINSON, and
YOLANDA BROWN, on behalf of
themselves and all other persons
similarly situated, known and unknown,             No. 3:20-cv-00421-NJR

                          Plaintiffs,              Hon. Nancy J. Rosenstengel

      v.

APPLE INC.,

                          Defendant.

                   MOTION TO WITHDRAW APPEARANCE

   Plaintiffs, pursuant to Local Civil Rule 83.1(g), hereby move that Nathan H.

Emmons be withdrawn as counsel for Plaintiffs in the above-referenced action as he

has left the law firm of Schlichter Bogard & Denton, LLP. Plaintiffs will continue to

be represented by Jerome J. Schlichter, Andrew D. Schlichter, Troy A. Doles, and

Alexander L. Braitberg of the firm Schlichter Bogard & Denton, LLP, along with

Christian Montroy of Montroy Law Offices, LLC.
Case 3:20-cv-00421-NJR Document 146 Filed 04/28/23 Page 2 of 3 Page ID #2446




 April 28, 2023                          Respectfully submitted,


                                         /s/ Andrew D. Schlichter
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                                         Attorneys for Plaintiffs




                                     2
Case 3:20-cv-00421-NJR Document 146 Filed 04/28/23 Page 3 of 3 Page ID #2447




                           CERTIFICATE OF SERVICE

   I hereby certify that on April 28, 2023 I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will
automatically send e-mail notification of such filing to the attorneys of record.

                                               /s/ Andrew D. Schlichter




                                           3
